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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   Eastern District
                                                 __________ Districtofof
                                                                      Louisiana
                                                                         __________

                  United States of America                       )
                             v.                                  )
                                                                 )       Case No. 24-mj-118
          MARIO ALONSO ALDANA-CARPIO                             )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              August 2, 2024                  in the county
                                                                               parish of          Orleans             in the
                       District of                           , the defendant(s) violated:

            Code Section                                                   Offense Description

        Violation of Title 8, U.S.C. Section, 1326                         Illegal Reentry of a Removed Alien.




          This criminal complaint is based on these facts:




             Continued on the attached sheet.

                                                                            /s/ Timothy B. Davis (Badge #23185)
                                                                                            Complainant’s signature
                                                                           Timothy B. Davis
                                                                           Acting Patrol Agent in Charge
                                                                           New Orleans Border Patrol Station
Sworn to before me and signed in my presence.                              United States Border Patrol


Date:      August     5, 2024
                                                                                               Judge’s signature

City and state:                                                          Honorable Donna Phillips Currault, U.S. Magistrate Judge
                                                                                             Printed name and title
                                                                                                                       2cc:USM
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                        *          CASE NO. 24-mj-118

                 v.                               *          SECTION: MAG

  MARIO ALONSO ALDANA-CARPIO                      *

                                          *       *      *

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Timothy B. Davis, being duly sworn, state as follows:

       1.      I am the Acting Patrol Agent in Charge (APAIC) of the New Orleans Border Patrol

Station (NLS) of the United States Border Patrol (USBP), currently located at 423 Canal Street,

New Orleans, Louisiana. I am a graduate of U.S. Border Patrol Academy and have been an Agent

in the Border Patrol since June 10, 1997. I have been a Supervisory Border Patrol Agent (SBPA)

since October 19, 2006, and have over 27 years of experience as a law enforcement officer.

       2.      My official duties with the USBP include enforcement functions relating to the

investigation, identification, arrest, and prosecution of individuals in violation of the immigration

laws of the United States as well as other statutes.

       3.      This affidavit is submitted in support of a criminal complaint charging MARIO

ALONSO ALDANA-CARPIO (ALDANA-CARPIO) with violating 8 U.S.C. § 1326, Illegal

Reentry of a Removed Alien.

       4.      As described herein, ALDANA-CARPIO is an alien assigned Alien Registration

Number XXX XXX 732, who has at least one formal deportation on or about January 10, 2006.

       5.      On August 2, 2024, ALDANA-CARPIO was encountered during a traffic stop

near New Orleans, Louisiana, as one of the passengers of a 2004 blue Nissan Frontier with Texas

license plate TPL1905. The registered owner of the vehicle, Atanacio Calles-Orellana, an
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undocumented non-citizen from El Salvador with a previous deportation from the United States.

The subject was targeted based on intelligence derived from a previous drunk driving conviction

stemming from an October 15, 2023, arrest. I first observed the 2004 blue Nissan Frontier as I

arrived at Calle’s suspected residence. Upon arrival, the vehicle departed the residence, and I

followed the vehicle. I verified that the vehicle belonged to Calles by running the running the

vehicle license plate (TX TPL1905) and was able to positively identify the driver of the vehicle

using Calle’s photograph obtained from record checks.

       6.      I initiated a vehicle stop once ALDANA-CARPIO pulled onto Oleander Street and

the vehicle stopped in a Shell gas station parking lot near the corner of Oleander Street and

Carrollton Avenue in New Orleans, Louisiana. I approached the vehicle on the passenger's side

and identified myself as a United States Border Patrol Agent. I was able to clearly see that there

were four adult passengers in the vehicle. As the back seat passenger rolled down his window, I

could smell the distinct aroma of marijuana emanating from the vehicle. To positively identify the

driver of the vehicle, I asked the driver, later positively identified as Atanacio Calles-Carpio, for

his driver's license, and the vehicle's registration. Calles stated that he did not have a driver’s

license. I asked Calles if he was the owner of the blue Nissan Frontier and Calles stated that he

was the owner.

       7.      I questioned Calles and the other passengers as to their citizenships and right to

enter, pass through or remain in the United States legally. Calles and the other passengers freely

admitted to being citizens and nationals of El Salvador, and that they did not have any documents

that would allow them to enter, pass through, or remain in the United States legally.

       8.      All of the vehicle occupants were arrested and transported to the New Orleans

Border Patrol Station for processing. ALDANA-CARPIO was processed using the e3/IDENT and




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IAFIS electronic systems. His fingerprints were electronically scanned and were automatically

matched by computer to his fingerprints in prior immigration records. ALDANA-CARPIO’s

identity was positively confirmed based on records checks received from computerized fingerprint

analysis and visual analysis of prior immigration photographs of ALDANA-CARPIO.

        9.       Record checks revealed that on December 28, 2004, U.S. Border Patrol Agents

arrested ALDANA-CARPIO after he had illegally entered the United States on December 26,

2004. During the encounter, ALDANA-CARPIO freely admitted to being a citizen and national

of El Salvador and that he illegally entered the United States or near Eagle Pass, Texas.

ALDANA-CARPIO was arrested as part of a group of undocumented non-citizens that were

actively smuggling duffle bags into the United States that contained marijuana. As a result of the

encounter ALDANA-CARPIO was charged with and convicted of an aggravated felony, namely,

possession of marijuana with the intent to distribute. ALDANA-CARPIO was incarcerated for

12 months and 1 day. Thereafter ALDANA-CARPIO was order deported from the United States

by an Immigration Judge and was removed to his native country of El Salvador on January 10,

2006.

        10.      I have conducted electronic database queries through law enforcement computer

indices on ALDANA-CARPIO and, according to your Affiant’s review of U.S. Immigration

records, there is no record of ALDANA-CARPIO ever having received express permission to

reenter the United States from the Attorney General or the Secretary of the Department of

Homeland Security.

        11.      ALDANA-CARPIO is a native and citizen of El Salvador who has no claim of

United States citizenship or lawful immigration status. ALDANA-CARPIO most recently entered

the United States unlawfully on January 20, 2013.




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        12.      Based on the foregoing, I believe that probable cause exists that ALDANA-

CARPIO reentered the United States, without the Attorney General or the Secretary of the

Department of Homeland Security having expressly consented to his reapplication for admission,

after having been ordered deported and removed from the United States, all in violation of 8 U.S.C.

§ 1326, Illegal Reentry of a Removed Alien. Affiant also prays that the Court will issue an arrest

warrant for ALDANA-CARPIO for said violation.



                                                          Respectfully submitted,


                                                          /s/ Timothy.B.Davis (Badge No. 23185)
                                                          Timothy B. Davis
                                                          Acting Patrol Agent in Charge
                                                          New Orleans Border Patrol Station
                                                          United States Border Patrol

Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial officer has on this date
considered the information communicated by reliable electronic means in considering whether a complaint, warrant, or
summons will issue. In doing so, I have placed the affiant under oath, and the affiant has confirmed that the signatures
on the complaint, warrant, or summons and affidavit are those of the affiant, that the document received by me is a
correct and complete copy of the document submitted by the affiant, and that the information contained in the complaint,
warrant, or summons and affidavit is true and correct to the best of the affiant’s knowledge.


Subscribed and sworn to before me,
on this _______
          5th day of August 5, 2024



HONORABLE DONNA PHILLIPS CURRAULT
UNITED STATES MAGISTRATE JUDGE




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